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                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

  Book People, Inc., VBK, Inc.,
  American Booksellers Association,
  Association of American Publishers,
  Authors Guild, Inc., Comic Book
  Legal Defense Fund
       Plaintiffs,                                         Civil No.
                                                     AU: 23-CV-00858-ADA
  v.

  Martha Wong, Keven Ellis, Mike
  Morath,
         Defendants.


           Defendants’ Motion for Stay of Proceedings Pending Appeal

       Defendants Martha Wong, in her official capacity as Chair of the Texas State

Library and Archives Commission, Keven Ellis, in his official capacity as Chair of the

Texas State Board of Education, and Mike Morath, in his official capacity as

Commissioner of the Texas Education Agency (collectively, “Defendants”) file this

Motion to Stay Proceedings Pending Appeal pursuant to Federal Rule of Appellate

Procedure 8(a)(1)(A).

                                 INTRODUCTION

       In bifurcated proceedings on August 18th and August 23rd, 2023, this Court

considered Defendants’ Motion to Dismiss pursuant to Federal Rules of Civil

Procedure 12(b)(1) and 12(b)(6), and Plaintiffs’ Motion for Preliminary Injunction.

ECF No. 19; ECF No. 6.


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      At a scheduling conference on August 31, 2023, the Court subsequently made

oral bench rulings denying Defendants’ Motion to Dismiss and granting Plaintiffs’

Motion for Preliminary Injunction. The Court further expressed its intent to enjoin

HB 900 (hereinafter, “READER”) in its entirety. Defendants subsequently indicated

their intent to appeal the granting of a preliminary injunction, and orally requested

the injunction be stayed pending appeal, which the Court denied. The Court indicated

that its oral bench rulings would be accompanied by a forthcoming written order.

      In an abundance of caution and because no written order has yet issued,

Defendants file this Motion to Stay to ensure compliance with Federal Rule of

Appellate Procedure 8(a)(1)(A) (requiring that “[a] party must ordinarily move first

in the district court” for “a stay of the judgment or order of a district court pending

appeal”). Given the impact that this order will have on Texas public schools, Texas

public school children, and multiple state entities, Defendants respectfully request a

stay of the injunction until the matter is resolved by the Fifth Circuit. At a minimum,

any order enjoining READER in its entirety should specifically be stayed pending

appeal, because any injunction that enjoins READER’s provisions covering the

promulgation of new library-collection standards for Texas school districts

improperly extends far beyond the relief required to redress alleged injuries of the

library-material vendor Plaintiffs in this case.




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                               LEGAL STANDARD

       “A party must ordinarily move first in the district court for…a stay of the

judgment or order of a district court pending appeal.” Fed. R. App. P. 8(a)(1)(A). A

stay pending appeal maintains the status quo to allow appellate courts to bring

“considered judgment” to a case. Texas All. For Retired Americans v. Hughs, 976 F.3d

564, 566 (5th Cir. 2020) (quoting Nken v. Holder, 556 U.S. 418, 427, 429 (2009)). When

considering a stay pending appeal, the Fifth Circuit considers the following four

factors:

       (1) whether the stay applicant has made a strong showing that he is
       likely to succeed on the merits; (2) whether the applicant will be
       irreparably injured absent a stay; (3) whether issuance of the stay will
       substantially injure the other parties interested in the proceeding; and
       (4) where the public interest lies.

Veasey v. Perry, 769 F.3d 890, 892 (5th Cir. 2014) (quoting Nken, 556 U.S. at 426,);

see also Hughs, 976 F.3d 564 at 566. The first two factors, namely whether the

appellant is likely to succeed on the merits and whether the appellant to suffer

irreparable harm, are often the “most critical.” See Hughs, 976 F.3d 564 at 566

(quoting Nken, 556 U.S. at 434). But where the “balance of the equities weighs heavily

in favor of granting the stay,” only a “serious legal question” is required. Tex.

Democratic Party v. Abbott, 961 F.3d 389, 397 (5th Cir. 2020). Each of the foregoing

factors weighs heavily in favor of Defendants, and thus the Court should grant a stay

pending the decision of the Circuit Court.




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                                     ARGUMENT

   A. Defendants are likely to succeed on appeal because this Court lacks
      subject-matter jurisdiction and the challenged provisions are
      constitutional.

   1. Defendants are likely to show this Court lacked subject-matter jurisdiction

over Plaintiffs’ claims, as explained in Defendants’ Motion to Dismiss. ECF No. 19 at

6–15. Plaintiffs have not made the “clear showing” of standing necessary to obtain a

preliminary injunction. Barber v. Bryant, 860 F.3d 345, 352 (5th Cir. 2017). But

perhaps even more importantly, Defendants are entitled to sovereign immunity.

Plaintiffs have not shown the requisite “connection” to any non-discretionary

“enforcement” of READER by the Defendant state-agency heads in this case. City of

Austin v. Paxton, 943 F.3d 993, 999-1000 (5th Cir. 2019). The Fifth Circuit has

repeatedly and recently upheld state officials’ sovereign immunity against challenges

that do little more than blame the official for seeing that the State’s laws are

followed—even in the First Amendment context. See, e.g., Ostrewich v. Tatum, 72

F.4th 94, 100 (5th Cir. 2023); ECF No. 19 at 11–13 (citing cases).

   Any injunction as to READER in its entirety is also impermissibly overbroad. An

injunction is “overbroad if it is not narrowly tailor[ed] ... to remedy the specific action

which gives rise to the order as determined by the substantive law at issue.” Scott v.

Schedler, 826 F.3d 207, 211 (5th Cir. 2016). Additionally, “[i]njunctions must be

narrowly tailored within the context of the substantive law at issue to address the

specific relief sought.” E.T. v. Paxton, 19 F.4th 760, 769 (5th Cir. 2021). Plaintiffs’

requested statewide preliminary injunction focuses on the alleged irreparable harms



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of requiring vendors to generate book ratings by April 1, 2024. ECF No. 6 at 13–26.

That relief does not require enjoining READER’s other provisions addressed to school

districts or state agencies.

   2. As outlined in Defendants’ Motion to Dismiss, Plaintiffs’ First Amendment

rights are not implicated by READER taking effect. ECF No. 19 at 16–33. The

devising and implementation of public-school library policy is government speech, Id.

at 16–19, a public-school library is a nonpublic forum in which Plaintiffs have no First

Amendment rights, Id. at 19–22, and compelled speech is not at issue, Id. at 24–27.

At most, the disputed ratings concern commercial speech, and READER withstands

the respective intermediate scrutiny analysis that might apply. ECF No. 19 at 24–26.

   Further, even if READER does implicate Plaintiffs’ speech, READER does not

violate the First Amendment. READER is not vague as applied to Plaintiffs, Id. at

27–29, is not overbroad, Id. at 31–32, does not constitute an unconstitutional prior

restraint or delegation, Id. at 29–30; 33, and is otherwise not facially invalid. Id. at

30–31. Because READER does not want for constitutionality, and given the wide

authority and discretion conferred in local and state entities and officials regarding

the creation and implementation of educational policy in Texas public schools, see

Tex. Educ. Code §7.102; Tex. Educ. Code §33.021; see also Chiras v. Miller, 432 F.3d

606, 608 (5th Cir. 2005); Hazelwood Sch. Dist. v. Kuhlmeier, 484 U.S. 260, 273 (1988),

Defendants are likely to succeed on appeal.




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   Moreover, each of these issues poses a “serious legal question” about the First

Amendment. Tex. Democratic Party, 961 F.3d 389, 397 (5th Cir. 2020). That is all that

is required where, as explained below, the equities heavily favor a stay. See id.

   B. Defendants, along with the entire Texas public school system, will be
      irreparably harmed by the enforcement of the Court’s order.

   The second factor, whether the appellant will be irreparably injured if the

injunction is not stayed, weighs heavily in favor of Defendants. States enjoined from

giving effect to their statutes generally suffer a form of automatic irreparable injury.

E.g., Vote.org v. Callanen, 39 F.4th 297, 308 (5th Cir. 2022). “When a statute is

enjoined, the State necessarily suffers the irreparable harm of denying the public

interest in the enforcement of its laws.” Planned Parenthood of Greater Tex. Surgical

Health Servs. v. Abbott, 734 F.3d 406, 419 (5th Cir.2013); see also Veasey v. Perry, 769

F.3d 890, 895 (5th Cir. 2014); Texas All. for Retired Americans v. Hughs, 976 F.3d

564, 569 (5th Cir. 2020). And applied to the context of a school year which has already

begun, Defendants, the Texas public school system, and the children it educates

would most certainly be irreparably harmed if they are unable to implement

READER.

   Separate and apart from the requirements or obligations of Plaintiffs, READER

requires immediate action from several state entities. Tex. Educ. Code §33.021; Tex.

Educ. Code Ch. 35, Sec. 4. Specifically, it requires TSLAC, in consultation with SBOE,

to devise and adopt standards for school library services in regard to the

implementation of READER. Tex. Educ. Code §33.021(b–d). This must be complete

by January 1, 2024. Tex. Educ. Code Ch. 35, Sec. 4. Meeting that future deadline is

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an arduous task that requires significant present action: First, TSLAC must meet

and consider standards for proposal. Second, TSLAC’s proposed standards must be

filed with the Texas Register. Third, SBOE must meet to vote on the proposed

standards. SBOE only meets a few times a year, and the only remaining meeting

prior to the January 1, 2024 deadline is November 14, 2023. Assuming SBOE

approves the proposed standards, they must then be published in the Texas Register

for a period of 30 days to allow for public comment. Finally, TSLAC must meet again

to formally adopt the standards. Although Plaintiffs are not formally affected by any

requirements of READER until April 1, 2024, none of the front-end, internal policy-

making requirements of the state can take place with an order enjoining READER in

place. Additionally, enjoinment of READER robs vendors of likely needed preparatory

time to rate their books and prepare their lists. If and when the injunction is stayed,

everyone— Plaintiffs as well as state entities— will be irreparably harmed by having

less time to comply with the statutory deadlines.

   Most importantly, Texas public school children will be harmed by enforcement of

the Court’s order. States have the “high responsibility for education of its citizen,”

which includes the obligations to set standards for what children learn in school and

to protect parents’ right to protect their children from inappropriate material.

Wisconsin v. Yoder, 406 U.S. 205, 213 (1972). Texans, by and through the state

legislature, have indicated that it is of the utmost importance to regulate the material

they are exposed to in public school libraries. The Court’s Order denies them the

ability to exercise these values, and subsequently the planned and anticipated



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safeguards will likely not be in place for the 2023–2024 school year. Texas experiences

irreparable harm every day that its law is enjoined. See, e.g., Veasey v. Abbott, 870

F.3d 387, 391 (5th Cir. 2017).

   C. Plaintiffs will not be injured by a stay of the injunction.

   Plaintiffs will not be harmed by a stay of the injunction. Given that Plaintiffs need

not issue any ratings until April 2024, a stay will not “substantially injure” Plaintiffs.

Nken, 556 U.S. at 426. To the contrary, in the event the Fifth Circuit overturns the

injunction and a stay had not been in place, Plaintiffs will suffer more harm than if a

stay had been in place. If this Court fails to issue a stay pending appeal but the Fifth

Circuit does, it would only cause Plaintiffs to have even less time to comply with their

April 1, 2024 deadline. Indeed, depending on the pace of Fifth Circuit proceedings,

Plaintiffs’ position means they may forego the ability to compete as a potential vendor

for the 2023–2024 school year altogether.

   Plaintiffs will likely argue that they will be harmed by a stay, as it would “force”

them to use time and resources to rate books and prepare a list that would be

unneeded if the Fifth Circuit upholds the District Court’s Order. That argument fails,

however, because Plaintiffs do not have any guarantee that any school district will

ultimately buy any books from them, at all. More importantly, if— as Plaintiffs

themselves have alleged— the anticipation of READER has already caused school

districts to pause book purchases, ECF No. 1 at 13, Plaintiffs adduced no evidence

that any school district will sua sponte resume purchasing until the appeal is settled




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by the Fifth Circuit. It is implausible that school districts would voluntarily bear the

risk of Plaintiffs’ loss on appeal.

   D. The public interest is in protecting children.

   The last factor, that the public interest is best served by a stay of a judgment, also

weighs in favor of Defendants. “When ‘the State is the appealing party, its interest

and [aforementioned] harm merge with that of the public.’” Hughs, 976 F.3d 564 at

569 (quoting Veasey v. Abbott, 870 F.3d 387, 391 (5th Cir. 2017)). This notion, put in

the context of protecting children from exposure to inappropriate reading material in

public school, makes perfect sense. For every Texan— regardless of whether they

utilize the public school system or not— trust in a public-school education and in the

educational policies of Texas is of the utmost importance, as Texas children are the

future of Texas.

                                      PRAYER

       Defendants request that the Court’s Order granting Plaintiffs’ Motion for

Preliminary Injunction be stayed pending appeal. Such an injunction will do

irreparable harm to the State and its public-school children, and a stay would not

substantially harm the Plaintiffs in this case. In addition, Defendants’ showing of the

likelihood of success on the merits, the balance of the equities, and compelling public

interest show that a stay is warranted. Given that the equitable balance heavily

favors the State, enjoining READER would indisputably pose serious legal questions

about the First Amendment, and that is sufficient to justify a stay.




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                            Respectfully submitted.

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                         CERTIFICATE OF SERVICE


      I hereby certify that on September 1, 2023, a true and correct copy of the

foregoing document was served on all counsels of record.


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